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       Counsel for Interested Party Edelson PC
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9
                            UNITED STATES BANKRUPCY COURT
10
           CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
11
        In re:                                   Case No. 2:20-bk-21020-BR
12
        THOMAS VINCENT GIRARDI,                  [Chapter 7]
13
                       Debtor.
14                                               STIPULATION BETWEEN ELISSA D.
                                                 MILLER, THE CHAPTER 7 TRUSTEE
15                                               FOR THE BANKRUPTCY ESTATE
                                                 OF GIRARDI KEESE, AND EDELSON
16                                               PC CONCERNING EDELSON PC’S
                                                 MOTION TO CLARIFY STAY
17
                                                 Hon. Barry Russell
18
                                                 Date: November 16, 2021
19                                               Time: 2:00 PM
                                                 Courtroom: 1668
20
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       STIPULATION                                              CASE NO. 2:20-BK-21020-BR
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1            Creditor Edelson PC (“Edelson”) and Elissa D. Miller, the Chapter 7 Trustee
2      (the “Girardi Keese Trustee”) for the bankruptcy estate (the “GK Estate”) of Girardi
3      Keese in In re Girardi Keese, 2:20-bk-21022-BR, by and through their counsel of
4      record, hereby stipulate as follows:
5            1.     Edelson filed a motion for clarification of the scope of the automatic stay
6      as to Erika Girardi (“Erika”) in the above-captioned case, so that Edelson could
7      proceed in the Edelson PC v. Girardi litigation against Erika. (Dkt. 258; see No. 20-
8      cv-07115 (N.D. Ill.)).
9            2.     Jason M. Rund, the Chapter 7 Trustee (the “Trustee”) for the bankruptcy
10     estate (the “TVG Estate”) of Thomas Vincent Girardi, filed a limited opposition, and
11     the Girardi Keese Trustee and Erika filed oppositions. (See dkts. 268, 270, 272, 280.)
12           3.     After reviewing Edelson’s reply brief, (dkt. 284), the Girardi Keese
13     Trustee desires to withdraw her opposition and stipulate with Edelson.
14           4.     This stipulation confirms what Edelson has said in its filings to date:
15     Edelson will not attempt to collect property of either the TVG Estate or the GK
16     Estate. (See dkt. 258, dkt. 284.) The Girardi Keese Trustee accordingly has no
17     objection to Edelson proceeding against Erika as a defendant in Edelson v. Girardi.
18           5.     Edelson agrees that it will alert the Trustee and the Girardi Keese
19     Trustee of any property of either the TVG Estate or the GK Estate, found in the
20     possession of Erika Girardi (or any party). Edelson will not collect such assets.
21     Edelson reserves all other rights.
22           ACCORDINGLY, the parties stipulate that the Girardi Keese Trustee’s
23     opposition to Edelson’s motion shall be deemed withdrawn, and the Girardi Keese
24     Trustee and Edelson jointly request that an order be entered consistent with the
25     foregoing and as proposed in Exhibit A (which will be submitted via LOU if
26     approved), or as the Court may determine is appropriate and just.
27
       STIPULATION                                                CASE NO. 2:20-BK-21020-BR
                                                   1
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1                                          EDELSON PC
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3      Dated: November 11, 2021            By: /s/ Rafey S. Balabanian
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       Dated: November 11, 2021            SMILEY WANG-EKVALL, LLP
9
10
                                           By:
11
                                                     PHILIP E. STROK
12                                                   Attorneys for Elissa D. Miller, Chapter 7
                                                     Trustee for Girardi Keese
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       STIPULATION                                               CASE NO. 2:20-BK-21020-BR
                                                 2
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                         EXHIBIT A
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                              UNITED STATES BANKRUPCY COURT
10
            CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
11
12      In re:                                     Case No. 2:20-bk-21020-BR
13      THOMAS VINCENT GIRARDI,                    [Chapter 7]
14                         Debtor.
                                                   [PROPOSED] ORDER
15
                                                   Hon. Barry Russell
16
17
18               This matter coming to be heard on Edelson PC’s motion to request clarification
19     of the automatic stay, the motion is hereby GRANTED, and the Court orders as
20     follows:
21               1.    The automatic stay is no bar to Edelson PC proceeding to a judgment
22     against Erika Girardi as a defendant in Edelson PC v. Girardi, No. 20-cv-7115 (N.D.
23     Ill.).
24               2.    The automatic stay shall remain in effect as to enforcement of any
25     resulting judgment against the Debtor, the bankruptcy estate of the Debtor, or
26     property of the bankruptcy estate in the above-captioned case.
27
       PROPOSED ORDER                                              CASE NO. 2:20-BK-21020-BR
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1            3.     The automatic stay shall remain in effect as to enforcement of any
2      resulting judgment against the debtor, the bankruptcy estate of the debtor, or property
3      of the bankruptcy estate in the pending bankruptcy case of In re Girardi Keese, No.
4      2:20-bk-21022-BR (C.D. Cal.).
5            4.     Should Edelson PC identify property of the estate in the above-captioned
6      case or the estate in In re Girardi Keese, No. 2:20-bk-21022-BR, Edelson shall alert
7      the respective trustee. This Court retains exclusive jurisdiction to determine whether
8      an asset being pursued by Edelson PC is property of the estate in the above-captioned
9      case or the estate in In re Girardi Keese, 2:20-bk-21022-BR, and, to the extent that
10     such asset is determined by this Court in the future to be an asset of either estate,
11     Edelson shall cease all collection efforts with respect to such asset and instead
12     provide the respective trustee with all evidence relating to the asset.
13           5.     This Court shall retain jurisdiction to resolve any and all disputes
14     relating to this Order.
15                                                 ###
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       PROPOSED ORDER                                              CASE NO. 2:20-BK-21020-BR
                                                    2
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
150 California Street, 18th Floor, San Francisco, California 94111

                                                                      STIPULATION BETWEEN ELISSA D. MILLER,
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 THE CHAPTER 7 TRUSTEEFOR THE BANKRUPTCY ESTATE OF GIRARDI KEESE, AND EDELSON PC'S MOTION
________________________________________________________________________________________________
 TO CLARIFY STAY
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
11/11/2021
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
              11/11/2021
On (date) _______________,      I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                       ✔ Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/11/2021         Rafey S. Balabanian                                                         /s/Rafey S. Balabanian
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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2.   TO BE SERVED VIA U.S. MAIL:

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     Broker: Steve Enslow
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     Courtesy Copy: Honorable Barry Russell United States Bankruptcy Court 255 E. Temple
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